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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

   In re: Cherita Brown                                          :       Chapter 13


                              Debtor(s)                          :       Bankruptcy 19—11282MDC

             ORDER DISMISSING CHAPTER 13 AND SETTING DEADLINE FOR
            APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSES

            AND NOW, upon consideration of the Motion to Dismiss Case ﬁled by William C.

   Miller, Standing Trustee (the “Trustee”), and after notice and hearing, it is hereby ORDERED

   that:

            1.        This chapter     13   bankruptcy case is DISMISSED.

            2.        Counsel for the Debtor shall ﬁle a master mailing list with the Clerk          of the

   Bankruptcy Court       if such has not been previously ﬁled.
            3.        Any wage orders previously entered are VACATED.

            4.        Pursuant to   11   U.S.C. §349(b)(3), the undistributed chapter    13   plan payments in

   the possession     of the Trustee shall not revest     in the entity in which such property was vested

   immediately before the commencement               of the case. All other property of the estate   shall revest

   pursuant to   11   U.S.C. §349(b)(3).

            5.        All applications for allowance of administrative expenses (including applications

   for allowance of professional fees) shall be ﬁled within twenty (20) days of the entry of this

   Order.

            6.        Counsel for the Debtor shall serve this Order by ﬁrst class mail, postage prepaid,

   on all interested parties within ﬁve (5) days         of the entry of this Order. Within thirty (30) days

   after the entry    of this Order,   counsel shall ﬁle (1) a Certiﬁcation   of Service conﬁrming such

   service, and (2) a Certiﬁcation          ofNo   Response conﬁrming that neither an objection to the
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   proposed compensation nor an application for administrative expense has been ﬁled, or             if such
   application has been ﬁled, set a hearing on all such applications.

            7.       If no Certiﬁcation, as required above in Paragraph 6 has been entered on the
   docket within sixty (60) days    of the entry of this Order, then the   Standing Trustee shall,   if any
   applications for administrative expenses other than Debtor(s)’ Counsels have been ﬁled, set a

   hearing thereon or,    if no such applications have been ﬁled, be authorized to return such funds to
   Debtor(s) pursuant to



   Dated:        X////f
                            11   U.S.Cj1326(a)(2).


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                                                             Magﬂine
                                                                                   [7.29
                                                                           D. Coleman
                                                                                           ﬂ/ﬁ‘
                                                            Chief United States Bankruptcy Judge
